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                  IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF PUERTO RICO



 IN RE:
                                             CASE NO. 17-06462-BKT
 HECTOR PEÑA DE LEON

 XXX-XX-7045                                 CHAPTER 13

 DEBTOR (S)


          CARMEN RAMOS ATILES
                MOVANT

          HECTOR PEÑA DE LEON
                DEBTOR

            JOSE R. CARRION
               TRUSTEE




    MOTION TO DISMISS PURSUANT TO SECTION 11 U.S.C. 1307(e)

 TO THE HONORABLE COURT:

       NOW COMES MOVANT, Carmen Ramos Atiles, (“Ramos”), through the

 undersigned counsel, and very respectfully alleges and requests:

       1.     Ramos is a secured creditor in the above captioned case.     The

 debtor has failed to comply with 11 U.S.C. § 1308. Consequently, Ramos

 requests that an order to dismiss the Chapter 13 petition pursuant to section

 1307(e) of the Bankruptcy Code be entered.

       2.     In its pertinent part, Section 1307 states that:


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             “(e) Upon the failure of the debtor to file a tax return
             under section 1308, on request of a party in interest
             or the United States trustee and after notice and a
             hearing, the court shall dismiss a case or convert a
             case under this chapter to a case under chapter 7 of
             this title, whichever is in the best interest of the
             creditors and the estate.”


       3.    On December 7, 2017, the Trustee, Jose R. Carrión, filed a

 “Notice of Closing 341 Creditors’ Meeting After Failure to Comply with 11

 U.S.C. § 1308” (Docket #18). On his motion, the Trustee informed that the

 341 Creditors meeting was held on November 14, 2017, on that date the

 Trustee decided to hold meeting open for 21 days pending relevant inquiry

 made to the debtor for remittance of evidence of filing all applicable tax

 return for all taxable periods ending during the 4 year period ending on the

 date of the filing of the petition according to 11 U.S.C. § 1308(b)(1). The

 Trustee also informed that the debtor has not provided evidence of filing the

 applicable tax returns as requested, that constitutes a failure to comply with

 11 U.S.C. § 1308. Finally, the Trustee closed the section 341 meeting.

       4.    The debtor’s failure to submit the evidence of filing the

 applicable tax returns as requested, before the closing of the 341 meeting, is

 sufficient cause to dismiss the Chapter 13 petition, this course of action

 represent the best interest of the creditors and the estate.

       5.    In view of the foregoing, Ramos respectfully requests that an

 order dismissing the Chapter 13 petition pursuant to section 1307(e) of the

 Bankruptcy Code be entered.

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                  NOTICE TO ALL PARTIES IN INTEREST

        Within fourteen (14) days after service as evidenced by the
 certification, and an additional three (3) days pursuant to Fed. R. Bank. P.
 9006(f) if you were served by mail, any party against whom this paper has
 been served, or any other party to the action who objects to the dismissal
 sought herein, shall serve and file an objection or other appropriate
 response to this paper with the Clerk’s office of the U.S. Bankruptcy Court
 for the District of Puerto Rico. If no objection or other response is filed
 within the time allowed herein, the paper will be deemed unopposed and
 may be granted unless: (i) the requested relief is forbidden by law; (ii) the
 requested relief is against public policy; or (iii) in the opinion of the Court,
 the interest of justice requires otherwise. If no response is filed within the
 prescribed period of time the Court may enter an order granting the relief
 herein requested.

       WHEREFORE, Ramos respectfully requests that an order be entered

 granting the dismissal of the Chapter 13 petition due to the debtor’s failure

 to submit the evidence of filing the applicable tax returns pursuant to section

 1307(e) of the Bankruptcy Code, granting costs, expenses and attorney’s

 fees to Ramos.

       RESPECTFULLY SUBMITTED

       I HEREBY CERTIFY that on this date I electronically filed the

 foregoing with the Clerk of the Court using the CM/ECF system which send

 notification of such filing to all participants of the CM/ECF system including

 the Chapter 13 Trustee, Jose R. Carrión, Esq.; and Debtor’s counsel, Roberto

 Figueroa Carrasquillo, Esq.   I also certify a copy of this motion has been

 served by regular U.S. Mail on this same date to the debtor and his attorney

 and all creditors and parties in interest to their respective addresses of




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 record as they appear in the master address list to the record, if any are not

 registered CM/ECF system participants.

       In San Juan, Puerto Rico this, December 26, 2017.




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